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                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF DELAWARE

GETTY IMAGES (US), INC.                                )
                                                       )
                                Plaintiff,             )
                                                       )
                v.                                     )       C.A. No.:
                                                       )
STABILITY AI, INC.                                     )       DEMAND FOR JURY TRIAL
                                Defendant.             )

                                                COMPLAINT

        Plaintiff Getty Images (US), Inc. (“Getty Images” or “Plaintiff”), by and through its

undersigned attorneys, for its Complaint against Defendant Stability AI, Inc. (“Stability AI” or

“Defendant”), hereby alleges as follows:

                                             NATURE OF ACTION

        1.           This case arises from Stability AI’s brazen infringement of Getty Images’

intellectual property on a staggering scale. Upon information and belief, Stability AI has copied

more than 12 million photographs from Getty Images’ collection, along with the associated

captions and metadata, without permission from or compensation to Getty Images, as part of its

efforts to build a competing business. As part of its unlawful scheme, Stability AI has removed

or altered Getty Images’ copyright management information, provided false copyright

management information, and infringed Getty Images’ famous trademarks.

        2.           Getty Images brings this action to recover damages that it has suffered and is

continuing to suffer, and to prevent the irreparable harm caused by Stability AI’s intentional and

willful acts.

        3.           Getty Images is one of the world’s leading creators and distributors of digital

content. At great expense, over the course of nearly three decades, Getty Images has curated a


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collection of hundreds of millions of premium quality visual assets, most of which are still,

photographic images. Many of these images were created by Getty Images staff photographers

as works made-for-hire, others have been acquired by Getty Images from third parties with an

assignment of the associated copyrights, and the remainder have been licensed to Getty Images

by its hundreds of content partners or hundreds of thousands of contributing photographers, who

rely on the licensing income Getty Images generates for them.

       4.      Getty Images makes hundreds of millions of visual assets available to customers

throughout the world and in this District via websites, including but not limited to

www.gettyimages.com and www.istock.com. The visual assets on Getty Images’ websites are

accompanied by: (i) titles and captions which are themselves original and creative copyrighted

expression; (ii) watermarks with credit information and content identifiers that are designed to

deter infringing uses of the content; and (iii) metadata containing other copyright management

information.

       5.      Getty Images serves creative, corporate, and media customers in more than 200

countries around the world, and its imagery helps its customers produce work which appears

every day in the world’s most influential newspapers, magazines, advertising campaigns, films,

television programs, books and websites. In appropriate circumstances, and with safeguards for

the rights and interests of its photographers and contributors and the subjects of the images in its

collection, Getty Images also licenses the use of its visual assets and associated metadata in

connection with the development of artificial intelligence and machine learning tools. Getty

Images has licensed millions of suitable digital assets to leading technology innovators for a

variety of purposes related to artificial intelligence and machine learning.




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       6.      Getty Images’ visual assets are highly desirable for use in connection with

artificial intelligence and machine learning because of their high quality, and because they are

accompanied by content-specific, detailed captions and rich metadata.

       7.      Upon information and belief, Stability AI was founded in 2020 by Emad

Mostaque, a former hedge fund executive, as a for-profit company. According to recent press

reports, Stability AI recently raised more than $100 million from venture capital investors and is

already valued at $1 billion. On the back of intellectual property owned by Getty Images and

other copyright holders, Stability AI has created an image-generating model called Stable

Diffusion that uses artificial intelligence to deliver computer-synthesized images in response to

text prompts. In additional to offering open-source versions of Stable Diffusion, Stability AI

offers a revenue-generating user interface called DreamStudio that is powered by its Stable

Diffusion model. DreamStudio enables users to obtain images from the Stable Diffusion model

on their own personal computers without the need for software installation or coding knowledge,

and Stability AI charges fees for that service.

       8.      Rather than attempt to negotiate a license with Getty Images for the use of its

content, and even though the terms of use of Getty Images’ websites expressly prohibit

unauthorized reproduction of content for commercial purposes such as those undertaken by

Stability AI, Stability AI has copied at least 12 million copyrighted images from Getty Images’

websites, along with associated text and metadata, in order to train its Stable Diffusion model.

       9.      Stability AI now competes directly with Getty Images by marketing Stable

Diffusion and its DreamStudio interface to those seeking creative imagery, and its infringement

of Getty Images’ content on a massive scale has been instrumental to its success to date.




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       10.     Upon information and belief, Stability AI was well aware that the content it was

scraping without permission from Getty Images’ websites was protected by copyright.

       11.     Often, the output generated by Stable Diffusion contains a modified version of a

Getty Images watermark, creating confusion as to the source of the images and falsely implying

an association with Getty Images. While some of the output generated through the use of Stable

Diffusion is aesthetically pleasing, other output is of much lower quality and at times ranges

from the bizarre to the grotesque. Stability AI’s incorporation of Getty Images’ marks into low

quality, unappealing, or offensive images dilutes those marks in further violation of federal and

state trademark laws.

       12.     Getty Images therefore brings this action alleging claims under the Copyright Act

of 1976, 17 U.S.C. §101 et seq., the Lanham Act, 15 U.S.C. § 1051 et seq., and Delaware

trademark and unfair competition laws to bring an end to Stability AI’s blatantly infringing

conduct and obtain redress for Stability AI’s callous disregard for its intellectual property rights.

                                             PARTIES

       13.     Plaintiff Getty Images (US), Inc. is a New York corporation with headquarters in

Seattle, Washington. It is the owner or exclusive licensee of the copyrights subject to the

copyright infringement claims at issue and the owner of the trademarks at issue.

       14.     Upon information and belief, Defendant Stability AI, Inc. is a Delaware

corporation with headquarters in London, UK. Also upon information and belief, Defendant

Stability AI and Stability AI, Ltd., an affiliated entity, are alter egos of one another and operate

as a single enterprise. The two corporations share the same CEO and founder: Mr. Mostaque.

Upon information and belief, in addition to serving as CEO and Director of Stability AI, Inc.,

Mr. Mostaque controls 75% or more of the voting rights, 75% or more of the shares, and has the


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right to appoint or remove a majority of the board of directors of Stability AI, Ltd. According to

Dunn & Bradstreet, Stability AI, Ltd. is a subsidiary of Stability AI and, as of November 2022,

Stability AI, Ltd.’s sole share was owned by Stability AI. Stability AI and Stability AI, Ltd. also

present themselves as a single enterprise: they are located at the same physical London address

and share both an email domain (@stability.ai) and website (https://stability.ai/).

                                  JURISDICTION AND VENUE

        15.      This action arises under the Copyright Act of 1976, 17 U.S.C. §101 et seq., the

Lanham Act, 15 U.S.C. § 1051 et seq., and Delaware trademark and unfair competition laws.

This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331, 1338, and 1367.

        16.      This Court has personal jurisdiction over Defendant Stability AI because Stability

AI is incorporated in Delaware.

        17.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b) because

Defendant is subject to personal jurisdiction in this District. Venue is also proper in this District

pursuant to 28 U.S.C. § 1400(a), because Stability AI or its agents reside or may be found in this

District.

                 ALLEGATIONS COMMON TO ALL CLAIMS FOR RELIEF

              A. Getty Images, Its Extensive Collection, and Its Worldwide Reputation for
                 Premium Visual Content

        18.      Getty Images is a preeminent global visual content creator and a leading source

for visual content around the world. Getty Images operates websites for the purpose of licensing

its works, including, inter alia, at www.gettyimages.com and www.istock.com. Its collection,

which currently contains hundreds of millions of visual assets, is renowned worldwide for its

unmatched depth, breadth, and quality. That visual content is included in a robust database (the

“Database”) that also contains detailed, original text titles and captions associated with the

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individual photographs and rich, image-specific metadata to provide the highest quality user

experience to customers and to ensure appropriate compensation for contributors and content

partners.

         19.   By visiting Getty Images’ websites, its customers and potential customers can

search and browse its collection before purchasing a license for specific content. For example,

customers looking for an image from a wedding might search “a couple exchanges rings.”

Among the search results, they might find the following image available for license with an

accompanying title that reads, “Valentine’s Day Group Wedding Held at Palm Beach County

Clerk’s Office,” a caption that reads, “A couple exchanges rings as they are wed during a group

Valentine's day wedding at the National Croquet Center on February 14, 2014 in West Palm

Beach, Florida” and a photo credit that reads “(Photo by Joe Readle/Getty Images)”:1




1
 https://www.gettyimages.com/detail/news-photo/couple-exchanges-rings-as-they-are-wed-
during-a-group-news-
photo/469378943?phrase=a%20couple%20exchanges%20rings&adppopup=true.

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       20.      As the foregoing example reflects, the search results contain, in addition to

images responsive to the search terms, watermarks on the images to deter infringing uses, credits

and other metadata, and options for purchasing a license for further use.

       21.      Getty Images has more than 500,000 contributors (80,000 of which are exclusive

to Getty Images), over 300 premium content partners, more than 115 staff photographers,

videographers, and other content experts who guide and contribute to the creation of award-

winning content, and a unique and comprehensive visual archive collection covering a broad

range of subject matter. Contributors choose to work with Getty Images to benefit from its

reputation and goodwill as a preeminent content licensor, its robust platform, its global

distribution network, and the royalty income Getty Images generates for them.

       22.      Getty Images’ customers come to Getty Images for its easy-to-use platform, its

comprehensive suite of content (including certain types of content for which authorized copies

are exclusive to Getty Images), its variety of licensing options and services, and the assurance

that the images they obtain from Getty Images will not infringe third-party copyrights.

             B. Getty Images’ Intellectual Property Rights and Terms of Use

                   1. Copyright

       23.      Most of the images and videos displayed on Getty Images’ websites are original,

creative works that enjoy protection under U.S. copyright laws. For many of these visual assets,

including all of the assets subject to the copyright infringement claims at issue in this action,

Getty Images either owns the copyright or is an exclusive licensee; for others, Getty Images is a

non-exclusive licensee.

       24.      For purposes of the copyright infringement claims set forth herein and

establishing the unlawful nature of Stability AI’s conduct, Getty Images has selected 7,216


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examples from the millions of images that Stability AI copied without permission and used to

train one or more versions of Stable Diffusion. The copyrights for each of these images (as well

as for many other images) have been registered with the U.S. Copyright Office. A list of these

works, together with their copyright registration numbers, is attached as Exhibit A.

         25.   As noted above, for the images displayed on its websites, Getty Images also

typically provides a detailed corresponding title and caption. Image titles and captions, which

are authored either by a Getty Images staff member or by an image contributor or partner,

typically reflect originality and creative choices. For example, for the image below, the

accompanying title reads, “Malnourished Sea Lions Continued To Be Rescued Off California

Shores” and the accompanying caption reads: “A sick and malnourished sea lion pup sits in an

enclosure at the Marine Mammal Center on March 18, 2015 in Sausalito, California. For the

third winter in a row, hundreds of sick and starving California sea lions are washing up on

California shores, with over 1,800 found and treated at rehabilitation centers throughout the state

since the beginning of the year. The Marine Mammal Center is currently caring for 224 of the

emaciated pups.”2




2
  https://www.gettyimages.com/detail/news-photo/sick-and-malnourished-sea-lion-pup-sits-in-
an-enclosure-at-news-photo/466716732

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       26.     Each of the images available through Getty Images’ websites has an associated

page that contains a unique URL pointing to a location where the image is stored together with

an “alt text” tag containing the image title and caption. The image URLs, titles, and captions,

along with other current metadata for each image, such as keywords and author and ownership

data, are populated from the Database.

       27.     Getty Images has spent years coordinating and arranging the Database, including,

inter alia, by setting criteria for inclusion of images, selecting specific images for inclusion,

creating and incorporating detailed captions and other text paired with images, creating and

assigning unique asset identifiers that can be linked to specific contributors, and arranging the

contents of the Database so that the Database is searchable and results can be filtered.

Additionally, Getty Images has and continues to invest significantly in maintaining the contents




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of the Database. Between 2017 and 2020 alone, Getty Images and its affiliates invested more

than $200 million to maintain the Database.

         28.     Getty Images has registered its copyright of the Database with the United States

Copyright Office. The copyright registration number is TXu002346096.

                   2. Trademarks and Goodwill

         29.   Getty Images’ name and trademarks are renowned in the U.S. and around the

world. Customers perform over 2.7 billion searches annually on the Getty Images’ websites,

which exist in 23 languages. Through its full range of content solutions, Getty Images served

over 836,000 purchasing customers in the last year alone, with customers from almost every

country in the world, ranging from media outlets, advertising agencies, and corporations of all

sizes to individual creators. Customers rely on Getty Images for the best content and service,

and trust the trademarks and service marks associated with its content.

         30.   Since its founding in 1995, Getty Images has been using its name and associated

trademarks in commerce continuously in connection with the distribution, promotion, and

marketing of its services and visual content, including the uses described above. Getty Images

has used its name and trademarks exclusively and extensively in the United States, and its

trademarks are widely recognized as representing premium quality visual content.

         31.   Getty Images uses its name and trademarks prominently on the Getty Images

websites. Each image available for viewing and purchase prominently displays a watermark that

contains an affiliated trademark, as illustrated in the images depicted in paragraphs 19 and 25

above.

         32.   Getty Images owns trademarks registered on the Principal Register in the United

States Patent & Trademark Office (“USPTO”) relating to its iconic brand. True and correct


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copies of the federal registration certificates evidencing Getty Images’ ownership of the

trademarks shown below are attached hereto as Exhibit B.

                     Mark Name                   Reg. Number        Reg. Date
                     GETTY IMAGES                 2,656,652         12/03/2002
                     GETTY IMAGES                 2,837,208         04/27/2004
                     GETTY IMAGES                 2,842,851         05/18/2004
                     GETTY IMAGES                 2,844,647         05/25/2004
                     GETTY IMAGES                 3,603,335         04/07/2009
                     GETTY IMAGES                 4,968,996         05/31/2016
                     GETTY IMAGES                 4,968,997         05/31/2016
                     GETTY IMAGES                 5,200,414         05/09/2017

       33.      Getty Images also owns common law rights in the mark GETTY IMAGES.

Together with Getty Images’ federally registered trademarks, these are referred to collectively as

the “Getty Images Marks.”

                   3. Website Terms and Conditions

       34.      Stability AI accessed Getty Images’ collection of visual assets through Getty

Images’ public-facing websites. The Getty Images websites from which Stability AI copied

images without permission is subject to express terms and conditions of use which, among other

things, expressly prohibit, inter alia: (i) downloading, copying or re-transmitting any or all of the

website or its contents without a license; and (ii) using any data mining, robots or similar data

gathering or extraction methods. Such restrictions apply not only to the photographic images

and videos that Getty Images licenses, but also to the valuable and proprietary title and caption

information, keywords, and other metadata associated with the visual assets, all of which is

highly desirable for use in connection with developing AI tools such as Stable Diffusion.

             C. Stability AI Infringes Getty Images’ Copyrights on an Enormous Scale and
                Exploits Getty Images’ Resources for its Commercial Benefit

       35.      Upon information and belief, Stability AI was founded in 2020 and is engaged in

the development of tools and models to generate digital content using artificial intelligence.

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       36.      Stability AI created and maintains a model called Stable Diffusion. Upon

information and belief, Stability AI utilizes the following steps from input to output:

             a. First, Stability AI copies billions of text-and-image pairings—like those available

                on Getty Images’ websites—and loads them into computer memory to train a

                model.

             b. Second, Stability AI encodes the images, which involves creating smaller versions

                of the images that take up less memory. Separately, Stability AI also encodes the

                paired text. Stability AI retains and stores copies of the encoded images and text

                as an essential element of training the model.

             c. Third, Stability AI adds visual “noise” to the encoded images, i.e., it further alters

                the images so that it is incrementally harder to discern what is visually

                represented because the images have been intentionally degraded in visual quality

                in order to “train” the model to remove the “noise.” By intentionally adding

                visual noise to the existing images with associated text, Stability AI teaches the

                model to generate output images to be consistent with a particular text description

                (e.g., “a dog playing on the beach during sunset”).

             d. Fourth, the model decodes the altered image and teaches itself to remove the noise

                by comparing the decoded image to the original image and text descriptions that

                have been copied and stored. By learning to decode noise, the model learns to

                deliver images similar to—and, in some cases, substantially similar to—the

                original without noise.

       37.      Upon information and belief, the third and fourth steps described in the preceding

paragraph are part of “training” the model to allow Stable Diffusion to understand the


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relationships between text and associated images and to use that knowledge to computationally

produce images in response to text prompts, as explained further below.

       38.     Stable Diffusion was trained on 5 billion image-text pairs from datasets prepared

by non-party LAION, a German entity that works in conjunction with and is sponsored by

Stability AI. Upon information and belief, Stability AI provided LAION with both funding and

significant computing resources to produce its datasets in furtherance of Stability AI’s infringing

scheme.

       39.     Upon information and belief, LAION created the datasets of image-text pairs used

by Stability AI by scraping links to billions of pieces of content from various websites, including

Getty Images’ websites.

       40.     Upon information and belief, Stability AI followed links included in LAION’s

dataset to access specific pages on Getty Images’ websites and copied many millions of

copyrighted images and associated text. Such copying was done without Getty Images’

authorization and in violation of the express prohibitions against such conduct contained in its

websites’ terms of use.

       41.     Upon information and belief, Stability AI then created another copy of the content

to encode it into a form its model could interpret.

       42.     Upon information and belief, Stability AI then created yet additional copies with

visual noise added, while retaining encoded copies of the original images without noise for

comparison to help train its model.

       43.     Upon information and belief, the unauthorized copies of Getty Images’ content

made by Stability AI are neither transitory nor ephemeral, and they were made with the express

aim of enabling Stability AI to supplant Getty Images as a source of creative visual imagery.


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          44.      To date, Getty Images has identified over 12 million links to images and their

associated text and metadata on its websites contained in the LAION datasets that were used to

train Stable Diffusion. Among the millions of links was a link to the photograph of the couple

exchanging rings displayed in paragraph 19 above as well as to each of the other images

identified in Exhibit A.

          45.      Getty Images’ content is extremely valuable to the datasets used to train Stable

Diffusion. Getty Images’ websites provide access to millions of high quality images and a vast

array of subject matter. High quality images such as those offered by Getty Images on its

websites are more useful for training an AI model such as Stable Diffusion than low quality

images because they contain more detail or data about the image that can be copied. By contrast,

a low quality image, such as one that has been compressed and posted as a small thumbnail on a

typical social media site, is less valuable because it only provides a rough, poor quality

framework of the underlying image and may not be accompanied by detailed text or other useful

metadata.

          46.      Stability AI has developed and released different versions of Stable Diffusion

over time, including, upon information and belief, to users located in Delaware. The core dataset

used to train Stable Diffusion version 2 was a subset of LAION 5B called LAION-Aesthetics,3

which was created to exclude images that were not sufficiently aesthetically pleasing.4 Targeting

its copying in this way allowed Stability AI to further benefit from Getty Images’ efforts over

many years to amass its renowned collection of high quality images and from the significant




3
    https://stability.ai/blog/stable-diffusion-announcement.
4
    https://laion.ai/projects/.

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investments required to generate such a collection and to develop and maintain the Database in

which it is stored.

        47.     Second, Getty Images’ websites include both the images and corresponding

detailed titles and captions and other metadata. Upon information and belief, the pairings of

detailed text and images has been critical to successfully training the Stable Diffusion model to

deliver relevant output in response to text prompts. If, for example, Stability AI ingested an

image of a beach that was labeled “forest” and used that image-text pairing to train the model,

the model would learn inaccurate information and be far less effective at generating desirable

outputs in response to text prompts by Stability AI’s customers. Furthermore, in training the

Stable Diffusion model, Stability AI has benefitted from Getty Images’ image-text pairs that are

not only accurate, but detailed. For example, if Stability AI ingested a picture of Lake Oroville

in California during a severe drought with a corresponding caption limited to just the word

“lake,” it would learn that the image is of a lake, but not which lake or that the photograph was

taken during a severe drought. If a Stable Diffusion user then entered a prompt for “California’s

Lake Oroville during a severe drought” the output image might still be one of a lake, but it would

be much less likely to be an image of Lake Oroville during a severe drought because the

synthesis engine would not have the same level of control that allows it to deliver detailed and

specific images in response to text prompts.

        48.     Upon information and belief, when Stability AI ingested the image below of Lake

Oroville with a corresponding caption that reads “A section of Lake Oroville is seen nearly dry

on August 19, 2014 in Oroville, California. As the severe drought in California continues for a

third straight year, water levels in the State's lakes and reservoirs is reaching historic lows. Lake




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Oroville is currently at 32 percent of its total 3,537,577 acre feet,”5 its use of the accompanying

text enabled the model to learn even more about the image and its contents and thus generate

output that competes with Getty Images’ own offerings much more effectively.




             D. Stability AI Competes Commercially with Getty Images

       49.      Once an artificial intelligence model like Stable Diffusion has been trained on

enough data to learn the relationship between text prompts and images, it can be used to generate

new images derived from the images and text the model’s creator has copied. For example, if a

model has been trained with image-text pairs of cats and image-text pairs of clothing, then a user




5
  https://www.gettyimages.com/detail/news-photo/section-of-lake-oroville-is-seen-nearly-dry-
on-august-19-news-photo/453834006

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can use the text prompt “cat in a scarf” and the model will generate an image that looks like a cat

in a scarf:




        50.    To be clear, the image above is not a photograph of an actual cat wearing an

actual scarf. It is a computer-synthesized image that resembles a cat wearing a scarf. Upon

information and belief, Stability AI was able to generate the image above because it used enough

images of real cats paired with rich text captions and images of real scarves with rich text

captions to train Stable Diffusion that the model can generate this type of output. Stable

Diffusion is able to combine what it has learned to generate this artificial image, but only

because it was trained on proprietary content belonging to Getty Images and others.

        51.    As a result, Stable Diffusion at times produces images that are highly similar to

and derivative of the Getty Images proprietary content that Stability AI copied extensively in the

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course of training the model. Indeed, independent researchers have observed that Stable

Diffusion sometimes memorizes and regenerates specific images that were used to train the

model.6

       52.     In many cases, and as discussed further below, the output delivered by Stability

AI includes a modified version of a Getty Images watermark, underscoring the clear link

between the copyrighted images that Stability AI copied without permission and the output its

model delivers. In the following example, the image on the left is another original, watermarked

image copied by Stability AI and used to train its model and the watermarked image on the right

is output delivered using the model:




6
 See, e.g., Nicholas Carlini et al., Extracting Training Data from Diffusion Models (2023),
https://arxiv.org/pdf/2301.13188.pdf; see also Gowthami Somepalli et al., Diffusion Art or
Digital Forgery? Investigating Data Replication in Diffusion Models (2022),
https://arxiv.org/pdf/2212.03860.pdf.

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       53.     Upon information and belief, Stability AI offers Stable Diffusion as open source

software, meaning that Stability AI permits third party developers to access, use, and further

develop the model without paying license fees to Stability AI. Those third parties benefit from

Stability AI’s infringement on Getty Images and, in turn, Stability AI benefits from the

widespread adoption of its model.

       54.     While Stability AI has made Stable Diffusion open source, Stability AI is also

directly monetizing the tool through a commercial platform it calls DreamStudio. DreamStudio

allows customers to access Stable Diffusion to generate images without the need for any of their

own heavy-duty processing power, software installation, or coding knowhow. According to Mr.

Mostaque, Stability AI plans to further monetize Stable Diffusion by training and deploying

customized, non-open source versions of Stable Diffusion for customers for use on a large scale,

and Stability AI reportedly has been valued at $1 billion.7

       55.     Upon information and belief, although Stability AI only released DreamStudio in

August 2022, millions of people already have used DreamStudio and collectively created

hundreds of millions of images. Yet Stability AI has not paid a cent to Getty Images or other

content owners from which it reproduced copyrighted content without permission to train its

highly lucrative model.

       56.      The gravity of Stability AI’s brazen theft and freeriding is compounded by the

fact that, by utilizing Getty Images’ copyrighted content for artificial intelligence and machine

learning, Stability AI is stealing a service that Getty Images already provides to paying

customers in the marketplace for that very purpose. Getty Images has licensed millions of


7
 https://techcrunch.com/2022/10/17/stability-ai-the-startup-behind-stable-diffusion-raises-
101m/.

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suitable digital assets for a variety of purposes related to artificial intelligence and machine

learning in a manner that respects personal and intellectual property rights. While Getty Images

licenses its proprietary content to responsible actors in appropriate circumstances, Stability AI

has taken that same content from Getty Images without permission, depriving Getty Images and

its contributors of fair compensation, and without providing adequate protections for the privacy

and dignity interests of individuals depicted.

             E. Stability AI’s Attempts to Circumvent Getty Images’ Watermarks

       57.       As noted in paragraph 31 above, each copyrighted image on Getty Images’

public-facing websites contains a watermark that is intended to indicate provenance and prevent

infringement. The watermark includes both a Getty Images-owned mark and credit information

for the image.

       58.       Upon information and belief, Stability AI has knowingly removed Getty Images’

watermarks from some images in the course of its copying as part of its infringing scheme. At

the same time, however, as discussed above, the Stable Diffusion model frequently generates

output bearing a modified version of the Getty Images watermark, even when that output is not

bona fide Getty Images’ content and is well below Getty Images’ quality standards. Examples of

this practice include:




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       59.    Making matters worse, Stability AI has caused the Stable Diffusion model to

incorporate a modified version of the Getty Images’ watermark to bizarre or grotesque synthetic

imagery that tarnishes Getty Images’ hard-earned reputation, such as the image below:



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       60.     Upon information and belief, Stability AI is well aware that Stable Diffusion

generates images that include distorted versions of Getty Images’ watermark and other

watermarks, but it has not modified its model to prevent that from happening.

       61.     Upon information and belief, unless enjoined by this Court, Stability AI intends to

continue to infringe upon Getty Images’ copyrights and trademarks and otherwise to profit from

its unauthorized use of Getty Images’ intellectual property. Getty Images has no adequate

remedy at law to redress all of the injuries that Stability AI has caused, and intends to continue to

cause, by its conduct. Getty Images will continue to suffer irreparable harm until Stability AI’s

infringing conduct is enjoined by this Court.




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                                             CLAIM I

                        Copyright Infringement (17 U.S.C. § 101 et seq.)

       62.      Getty Images realleges and incorporates by reference herein the allegations set

forth in paragraphs 1 through 61 above.

       63.      Getty Images is the owner or exclusive licensee of copyrights identified in Exhibit

A, and therefore is entitled to the exclusive rights under copyright law associated therewith,

including the rights set forth in 17 U.S.C § 106.

       64.      Getty Images has obtained copyright registrations for each of the works identified

in Exhibit A.

       65.      Getty Images is the owner of, and has obtained a copyright registration for, the

Database.

       66.      Stability AI obtained access to the registered images and the associated titles,

captions, and other metadata in the Database through Getty Images’ websites.

       67.      By and through the actions alleged above, Stability AI has infringed and will

continue to infringe Getty Images’ copyrights by, inter alia, reproducing Getty Images’

copyrighted works and creating derivative works therefrom without any authorization from Getty

Images.

       68.      Stability AI’s acts of copyright infringement have been intentional, willful, and in

callous disregard of Getty Images’ rights. Stability AI knew at all relevant times that the content

on Getty Images’ websites is copyrighted, that Getty Images is in the business of licensing visual

content, and that its acts were in violation of the terms of use of those websites.

       69.      Stability AI engaged in the infringing acts described herein for its own

commercial benefit.


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       70.     As a direct and proximate result of Stability AI’s wrongful conduct, Getty Images

has been substantially and irreparably harmed in an amount not readily capable of determination

and, unless permanently enjoined from further acts of infringement and continuing to use and

distribute Stable Diffusion models trained using Getty Images’ copyrighted content without

permission, Stability AI will cause additional irreparable harm for which there is no adequate

remedy at law. Getty Images is thus entitled to permanent injunctive relief preventing Stability

AI, its agents, affiliates, employees and all persons acting in concert with it from engaging in any

further infringement of Getty Images’ content.

       71.     Getty Images is further entitled to recover from Stability AI the damages it has

sustained and will sustain as a result of the infringing acts alleged above, together with any

additional profits obtained by Stability AI. The amount of such damages and profits cannot be

fully ascertained by Getty Images at present but will be established according to proof at trial.

       72.     For any infringing acts occurring after registration of the applicable Getty Images’

copyrights, Getty Images is entitled, at its election, as an alternative to an award of actual

damages and any additional profits earned by Stability AI, to recover statutory damages of up to

$150,000 for each infringed work.

       73.     Getty Images is entitled to recover its full costs in prosecuting its copyright

infringement claims in this action and its attorneys’ fees.

                                             CLAIM II

  Providing False Copyright Management Information in Violation of 17 U.S.C. § 1202(a)

       74.     Getty Images realleges and incorporates by reference herein the allegations set

forth in paragraphs 1 through 73 above.

       75.     The watermarks that Getty Images applies to images made available on its public-


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facing websites constitute copyright management information for purposes of Section 1202 of

the Copyright Act, 17 U.S.C. § 1202.

       76.     By applying a modified version of Getty Images’ watermarks to output generated

through use of Stable Diffusion and the DreamStudio interface, Stability AI has provided false

copyright management information in violation of 17 U.S.C. § 1202(a). Stability AI’s provision

of false copyright management information has been done knowingly and with the intent to

induce, enable, facilitate, or conceal infringement of Getty Images’ copyrights.

       77.     As a direct and proximate result of Stability AI’s wrongful conduct, Getty Images

has been substantially and irreparably harmed in an amount not readily capable of determination

and, unless permanently enjoined from further acts of providing false copyright management

information, Stability AI will cause additional irreparable harm for which there is no adequate

remedy at law. Getty Images is thus entitled to permanent injunctive relief preventing Stability

AI, its agents, affiliates, employees and all persons acting in concert with it from providing false

copyright management information.

       78.     Getty Images is further entitled to recover from Stability AI the damages it has

sustained and will sustain as a result of the unlawful acts alleged above, together with any

additional profits obtained by Stability AI. The amount of such damages and profits cannot be

fully ascertained by Getty Images at present but will be established according to proof at trial.

       79.     Getty Images is entitled, at its election, as an alternative to an award of actual

damages and any additional profits earned by Stability AI, to recover statutory damages of up to

$25,000 for each violation of Section 1202(a).

       80.     Getty Images is entitled to recover its full costs and attorneys’ fees in prosecuting

its claims under Section 1202(a).


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                                            CLAIM III

                Removal or Alteration of Copyright Management Information
                               in Violation of Section 1202(b)

       81.     Getty Images realleges and incorporates by reference herein the allegations set

forth in paragraphs 1 through 80 above.

       82.     Stability AI has intentionally removed or altered Getty Images’ watermarks and

metadata associated with the images Stability AI impermissibly copied from Getty Images’

websites. Such watermarks and metadata contain copyright management information. Stability

AI’s removal or alteration of Getty Images’ copyright management information has been done

knowingly and with the intent to induce, enable, facilitate, or conceal infringement of Getty

Images’ copyrights.

       83.     As a direct and proximate result of Stability AI’s wrongful conduct, Getty Images

has been substantially and irreparably harmed in an amount not readily capable of determination

and, unless permanently enjoined from further acts of removing or altering copyright

management information, Stability AI will cause additional irreparable harm for which there is

no adequate remedy at law. Getty Images is thus entitled to permanent injunctive relief

preventing Stability AI, its agents, affiliates, employees and all persons acting in concert with it

from removing or altering Getty Images’ copyright management information.

       84.     Getty Images is further entitled to recover from Stability AI the damages it has

sustained and will sustain as a result of the unlawful acts alleged above, together with any

additional profits obtained by Stability AI. The amount of such damages and profits cannot be

fully ascertained by Getty Images at present but will be established according to proof at trial.

       85.     Getty Images is entitled, at its election, as an alternative to an award of actual

damages and any additional profits earned by Stability AI, to recover statutory damages of up to

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$25,000 for each violation of Section 1202(b).

       86.     Getty Images is entitled to recover its full costs and attorneys’ fees in prosecuting

its claims under Section 1202(b).

                                            CLAIM IV

Trademark Infringement in Violation of Section 32 of the Lanham Act, 15 U.S.C. § 1114(1)

       87.     Getty Images realleges and incorporates by reference herein the allegations set

forth in paragraphs 1 through 86 above.

       88.     Getty Images has expended substantial time, money, and resources collecting,

distributing, promoting, marketing, and advertising the millions of images it offers on its

websites and the Getty Images Marks associated therewith.

       89.     The Getty Images Marks are in full force and effect. Getty Images has never

abandoned them, nor has Getty Images ever abandoned the goodwill of its businesses in

connection thereto. For example, Getty Images continues to use and prominently display Getty

Images Marks on its websites, as well as on and in connection with the many millions of images

it offers. Getty Images intends to continue to preserve and maintain its rights with respect to the

Getty Images Marks.

       90.     The Getty Images Marks are distinctive and have become associated in the minds

of the public with Getty Images, its brand, and its reputation for high-quality visual content.

       91.     The Getty Images Marks and the goodwill of the business associated with them in

the United States are of great and significant value to Getty Images.

       92.     Getty Images’ use of the Getty Images Marks and Stability AI’s infringing uses of

the same marks are in competitive proximity to one another, as they are both used in connection

with, inter alia, the marketplace for visual content.


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       93.      Stability AI’s unauthorized use of Getty Images Marks in connection with synthetic

images generated through the use of Stable Diffusion and DreamStudio constitutes trademark

infringement in violation of Section 32 of the Lanham Act, 15 U.S.C § 1114(1), as such use likely

has caused and will continue to cause members of the consuming public to be confused, mistaken

or deceived into believing that Getty Images has granted Stability AI the right to use the Getty

Images Marks and/or that Getty Images sponsored, endorsed, or is otherwise associated, affiliated,

or connected with Stability AI and its synthetic images, all to the damage and detriment of Getty

Images’ reputation and good will.

       94.      Upon information and belief, Stability AI is and has been at all relevant times

aware of Getty Images’ prior use, and/or ownership of the Getty Images Marks. Thus, Stability

AI’s conduct, as described above, is willful, intentional, in bad faith, and designed specifically to

permit Stability AI to profit from such misuse in violation of Getty Images’ rights in the Getty

Images Marks.

       95.      As a direct and proximate result of Stability AI’s wrongful conduct, Getty Images

has been substantially and irreparably harmed in an amount not readily capable of determination

and, unless permanently enjoined from further acts of trademark infringement, Stability AI will

cause additional irreparable harm for which there is no adequate remedy at law. Getty Images is

thus entitled to permanent injunctive relief preventing Stability AI, its agents, affiliates,

employees and all persons acting in concert with it from infringing the Getty Images Marks.

       96.      Getty Images is further entitled to recover from Stability AI the damages it has

sustained and will sustain as a result of the unlawful acts alleged above, together with the profits

obtained by Stability AI. The amount of such damages and profits cannot be fully ascertained by

Getty Images at present but will be established according to proof at trial.


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       97.     Getty Images is entitled to recover treble damages or profits, whichever is greater,

for Stability AI’s use of a counterfeit mark.

       98.     Getty Images is entitled, at its election, as an alternative to an award of actual

damages and profits earned by Stability AI, to recover statutory damages of up to $2,000,000 per

counterfeit mark used.

       99.     Getty Images is entitled to recover its full costs and attorneys’ fees in prosecuting

its claims for trademark infringement.

                                             CLAIM V

 Unfair Competition in Violation of Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a)

       100.    Getty Images realleges and incorporates by reference herein the allegations set forth

in paragraphs 1 through 99 above.

       101.     Stability AI’s unauthorized use of the Getty Images Marks in connection with

synthetic images generated through the use of Stable Diffusion and DreamStudio constitutes

unfair competition and false designation of origin in violation of Section 43(a) of the Lanham

Act, 15 U.S.C § 1125(a), as such use likely has caused and will continue to cause members of the

consuming public to be confused, mistaken or deceived into believing that Getty Images has

granted Stability AI the right to use the Getty Images Marks and/or that Getty Images sponsored,

endorsed, or is otherwise associated, affiliated, or connected with Stability AI and its synthetic

images, all to the damage and detriment of Getty Images’ reputation and good will.

       102.    Upon information and belief, Stability AI is and has been at all relevant times

aware of Getty Images’ prior use, and/or ownership of the Getty Images Marks. Thus, Stability

AI’s conduct, as described above, is willful, intentional, in bad faith, and designed specifically to




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permit Stability AI to profit from such misuse in violation of Getty Images’ rights in the Getty

Images Marks.

       103.     As a direct and proximate result of Stability AI’s wrongful conduct, Getty Images

has been substantially and irreparably harmed in an amount not readily capable of determination

and, unless permanently enjoined from further acts of trademark infringement, Stability AI will

cause additional irreparable harm for which there is no adequate remedy at law. Getty Images is

thus entitled to permanent injunctive relief preventing Stability AI, its agents, affiliates,

employees and all persons acting in concert with it from competing unfairly with Getty Images.

       104.     Getty Images is further entitled to recover from Stability AI the damages it has

sustained and will sustain as a result of the unlawful acts alleged above, together with the profits

obtained by Stability AI. The amount of such damages and profits cannot be fully ascertained by

Getty Images at present but will be established according to proof at trial.

       105.     Getty Images is entitled to recover treble damages or profits, whichever is greater,

for Stability AI’s use of a counterfeit mark.

       106.     Getty Images is entitled, at its election, as an alternative to an award of actual

damages and profits earned by Stability AI, to recover statutory damages of up to $2,000,000 per

counterfeit mark used.

       107.     Getty Images is entitled to recover its full costs and attorneys’ fees in prosecuting

its claims for unfair competition and false designation of origin.

                                             CLAIM VI

 Trademark Dilution in Violation of Section 43(c) of the Lanham Act, 15 U.S.C. § 1125(c)

       108.     Getty Images realleges and incorporates by reference herein the allegations set forth

in paragraphs 1 through 107 above.


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       109.    The Getty Images Marks are distinctive and famous.

       110.    Stability AI has used the Getty Images Marks in commerce, and Stability AI’s

commercial use of the Getty Images Marks commenced after those marks became famous.

       111.    Stability AI’s use of the Getty Images Marks on lower quality, and in some cases

bizarre or grotesque images, dilutes the quality of the Getty Images Marks by blurring or

tarnishment. Upon information and belief, Stability AI’s use of the Getty Images Marks on

lower quality, and in some cases bizarre or grotesque images, has been and continues to be

knowing, willful, and in bad faith.

       112.    Stability AI’s unauthorized use of the Getty Images Marks in connection with

lower quality synthetic images generated through the use of Stable Diffusion and DreamStudio

constitutes trademark dilution in violation of Section 43(c) of the Lanham Act, 15 U.S.C §

1125(c).

       113.    As a direct and proximate result of Stability AI’s wrongful conduct, Getty Images

has been substantially and irreparably harmed in an amount not readily capable of determination

and, unless permanently enjoined from further acts of trademark dilution, Stability AI will cause

additional irreparable harm for which there is no adequate remedy at law. Getty Images is thus

entitled to permanent injunctive relief preventing Stability AI, its agents, affiliates, employees

and all persons acting in concert with it from diluting the Getty Images Marks.

       114.    Getty Images is further entitled to recover from Stability AI the damages it has

sustained and will sustain as a result of the unlawful acts alleged above, together with the profits

obtained by Stability AI. The amount of such damages and profits cannot be fully ascertained by

Getty Images at present but will be established according to proof at trial.




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       115.     Getty Images is entitled to recover its full costs and attorneys’ fees in prosecuting

its claims for trademark dilution.

                                            CLAIM VII

                     Deceptive Trade Practices in Violation of Delaware’s
                           Uniform Deceptive Trade Practices Act

       116.     Getty Images realleges and incorporates by reference herein the allegations set

forth in paragraphs 1 through 115 above.

       117.      Stability AI’s unauthorized use of the Getty Images Marks in connection with

synthetic images generated through the use of Stable Diffusion and DreamStudio constitutes a

deceptive trade practice in violation of Delaware law, as such use likely has caused and will

continue to cause members of the consuming public, including in Delaware, to be confused,

mistaken or deceived into believing that Getty Images has granted Stability AI the right to use

the Getty Images Marks and/or that Getty Images sponsored, endorsed, or is otherwise

associated, affiliated, or connected with Stability AI and its synthetic images, all to the damage

and detriment of Getty Images’ reputation and good will.

       118.     Upon information and belief, Stability AI is and has been at all relevant times

aware of Getty Images’ prior use, and/or ownership of the Getty Images Marks. Thus, Stability

AI’s conduct, as described above, is willful, intentional, in bad faith, and designed specifically to

permit Stability AI to profit from such misuse in violation of Getty Images’ rights in the Getty

Images Marks.

       119.     As a direct and proximate result of Stability AI’s wrongful conduct, Getty Images

has been substantially and irreparably harmed in an amount not readily capable of determination

and, unless permanently enjoined from further deceptive acts, Stability AI will cause additional

irreparable harm for which there is no adequate remedy at law. Getty Images is thus entitled to

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permanent injunctive relief preventing Stability AI, its agents, affiliates, employees and all

persons acting in concert with it from engaging in deceptive trade practices.

        120.    Getty Images is further entitled to recover from Stability AI treble the damages it

has sustained and will sustain as a result of Stability AI’s acts in violation of Delaware law. The

amount of such damages cannot be fully ascertained by Getty Images at present but will be

established according to proof at trial.

        121.    Getty Images is entitled to recover its full costs and attorneys’ fees in prosecuting

its claims for deceptive trade practices.

                                            CLAIM VIII

     Trademark Dilution in Violation of Section 3313 of the Delaware Trademark Act

        122.    Getty Images realleges and incorporates by reference herein the allegations set forth

in paragraphs 1 through 121 above.

        123.    The Getty Images Marks are distinctive and famous.

        124.    Stability AI has used the Getty Images Marks in commerce, and Stability AI’s

commercial use of the Getty Images Marks commenced after those marks became famous.

        125.    Stability AI’s use of the Getty Images Marks on lower quality, and in some cases

bizarre or grotesque images, dilutes the quality of the Getty Images Marks by blurring or

tarnishment. Upon information and belief, Stability AI’s use of Getty Images Marks on lower

quality, and in some cases bizarre or grotesque images, has been and continues to be knowing,

willful, and in bad faith.

        126.    Stability AI’s unauthorized use of the Getty Images Marks in connection with

lower quality synthetic images generated through the use of Stable Diffusion and DreamStudio

constitutes trademark dilution in violation of Section 3313 of the Delaware Trademark Act.


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       127.    As a direct and proximate result of Stability AI’s wrongful conduct, Getty Images

has been substantially and irreparably harmed in an amount not readily capable of determination

and, unless permanently enjoined from further acts of trademark dilution, Stability AI will cause

additional irreparable harm for which there is no adequate remedy at law. Getty Images is thus

entitled to permanent injunctive relief preventing Stability AI, its agents, affiliates, employees

and all persons acting in concert with it from diluting the Getty Images Marks.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff Getty Images respectfully requests judgment in its favor and

against Defendant Stability AI as follows:

           A. Finding that Stability AI has infringed Getty Images’ copyrights;

           B. Finding that Stability AI’s copyright infringement was willful;

           C. Finding that Stability AI has provided false copyright management information;

           D. Finding that Stability AI has removed or altered copyright management

               information;

           E. Finding that Stability AI has infringed Getty Images’ trademarks;

           F. Finding that Stability AI has diluted Getty Images’ trademarks;

           G. Finding that Stability AI has tarnished Getty Images’ trademarks;

           H. Finding that Stability AI’s trademark infringement, unfair competition, trademark

               dilution, and deceptive trade practices were willful and in bad faith;

           I. Finding that there is a substantial likelihood that Stability AI will continue to

               infringe Getty Images copyrights and trademarks unless enjoined from doing so;

           J. Issuing a permanent injunction enjoining Stability AI and its agents, servants,

               employees, successors and assigns, and all persons, firms and corporations acting


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           in concert with it, from directly or indirectly infringing Getty Images’ copyrights,

           from providing false copyright management information, from removing or

           altering Getty Images’ copyright management information, and from infringing,

           diluting, or tarnishing Getty Images’ trademarks;

        K. Ordering the destruction of all versions of Stable Diffusion trained using Getty

           Images’ content without permission;

        L. Ordering Stability AI to provide a full and complete accounting to Getty Images

           for Stability AI’s profits, gains, advantages, and the value of the business

           opportunities received from its infringing acts;

        M. Entering judgment for Getty Images against Stability AI for all damages suffered

           by Getty Images and for any profits to or gain by Stability AI attributable to its

           infringement of Getty Images’ copyrights and its acts in violation of 17 U.S.C.

           § 1202

        N. Entering judgment for Getty Images against Stability AI for all damages suffered

           by Getty Images for any profits to or gain by Stability AI attributable to its

           infringement and dilution of Getty Images trademark and its unfair competition

           and deceptive trade practices in amounts to be determined at trial, with the greater

           of such damages and profits trebled;

        O. Entering judgment for Getty Images for statutory damages for Stability AI’s

           willful acts of copyright infringement, its provision of false copyright

           management information, and its removal or alteration of Getty Images’ copyright

           management information;




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         P. Entering judgment for Getty Images for statutory damages for Stability AI’s

             willful acts of trademark infringement and unfair competition;

         Q. Awarding Getty Images its costs and reasonable attorneys’ fees;

         R. Awarding Getty Images pre-judgment and post-judgment interest to the fullest

             extent available; and

         S. Granting such other and further relief as the Court deems just and proper.

                               DEMAND FOR JURY TRIAL

      Plaintiff Getty Images demands a trial by jury on all issues so triable.


Dated: February 3, 2023                              YOUNG CONAWAY STARGATT &
                                                     TAYLOR, LLP
OF COUNSEL:
                                                      /s/ Tammy L. Mercer
WEIL, GOTSHAL & MANGES LLP                           Tammy L. Mercer (No. 4957)
Benjamin E. Marks (pro hac vice application          Robert M. Vrana (No. 5666)
forthcoming)                                         1000 North King Street
Jared R. Friedmann (pro hac vice application         Wilmington, Delaware 19801
forthcoming)                                         (302) 571-6600
Melissa Rutman (pro hac vice application             tmercer@ycst.com
forthcoming)                                         rvrana@ycst.com
767 Fifth Avenue
New York, New York 10153                             Attorneys for Plaintiff Getty Images (US),
(212) 310-8000                                       Inc.
benjamin.marks@weil.com
jared.friedmann@weil.com
melissa.rutman@weil.com




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